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                                                                                       U.S. DISTRICT COURT
                                                                                           N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
vs.                                                )      5:20-CR-209-LCB-HNJ
                                                   )
TAMARA MOORE                                       )

      TAMARA MOORE’S OBJECTIONS TO THE PRESENTENCE REPORT

         Tamara Moore files the following objections to the presentence report (PSR):

      1. Paragraphs 25, 30, 34, 64 – Ms. Moore should not receive a four-point

         enhancement for knowingly marketing a substance containing fentanyl as

         another substance. Although the substance at issue contained fentanyl, Ms.

         Moore was not aware and believed that it was in fact heroin. Her interviews

         with law enforcement—which are included in the discovery—support this

         belief. On the other hand, her co-defendant—Anthony Clark—did in fact know

         that the substance contained fentanyl and admitted this fact to law

         enforcement. Notwithstanding, Mr. Clark never disclosed that information to

         Ms. Moore. As such, Ms. Moore lacks the requisite knowledge necessary for

         this enhancement.

                  Her adjusted offense level should be 20 and her total offense level should

         be 17.

      2. Paragraphs 40, 41, 64 – Ms. Moore was not under supervision at the time of

         the offense. Although the indictment charges that the conspiracy occurred “in

         or about May 2019, and continuing thereafter until on or about May 18, 2020,”



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      (Doc. 1) the underlying facts—which are supported by a law enforcement

      interview—confirm that Ms. Moore did not enter the conspiracy until 2020 (a

      few weeks before May 18, 2020). Her probation term in Madison County Circuit

      Court case number CC-2016-3573 was completed on May 15, 2019 (See PSR

      37). Given this, her total criminal history score should be one, which

      establishes a criminal history category of I.

   3. Paragraph 64 – Based on a total offense level of 17 and a criminal history

      category of I, the guideline imprisonment range should be 24 to 30 months.

                                        KEVIN L. BUTLER
                                        Federal Public Defender

                                        /s/ Latasha McCrary
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                              CERTIFICATE OF SERVICE

      I hereby certify that on August 26, 2021, I filed the foregoing with the Clerk of
the Court and a copy was provided to counsel of record in this case.

                                        Respectfully submitted,

                                        /s/ Latasha McCrary
                                        Latasha McCrary




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